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 1                                                                 HONORABLE THOMAS S. ZILLY

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 4
                                 UNITED STATES DISTRICT COURT
 5                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 6

 7     DEVITTA BRISCOE, as executor of the Estate
       of Che Andre Taylor; JOYCE DORSEY,
 8     individually; CHE ANDRE TAYLOR JR.,
       individually; SARAH SETTLES on behalf of              NO. 2:18-cv-00262-TSZ
 9     her minor child, CHE’LYNN MARIE
       TAYLOR; and DEMEKA GREEN for the                      STIPULATED ORDER OF DISMISSAL
10     Estate of Brenda Taylor,                              OF ALL CLAIMS WITH PREJUDICE

11                                    Plaintiffs,            Noted for Consideration:
                                                             December 7, 2020
12     v.

13     CITY OF SEATTLE; MICHAEL
       SPAULDING and “JANE DOE”
14     SPAULDING, and their marital community
       composed thereof; SCOTT MILLER and
15     “JANE DOE” MILLER, and their marital
       community composed thereof,
16
                                      Defendants.
17

18                                             STIPULATION

19          On December 4, 2020, the parties to this lawsuit reached a mediated settlement agreement.

20   In exchange for total payment of $1,500,000.00, Plaintiffs Devita Briscoe, as Executor of the Estate

21   of Che Andre Taylor; Joyce Dorsey; Che Andre Taylor, Jr.; and Sarah Settles on behalf of her minor

       STIPULATED ORDER OF DISMISSAL OF
       ALL CLAIMS WITH PREJUDICE - 1                             CHRISTIE LAW GROUP, PLLC
       (2:18-cv-00262-TSZ)                                      2100 WESTLAKE AVENUE N., SUITE 206
                                                                       SEATTLE, WA 98109
                                                                          206-957-9669
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 1   child, C.M.T agreed to dismiss all claims and causes of action with prejudice as a matter of law.

 2   Plaintiffs shall not appeal the Court’s dismissal of any claims or parties on Defendants’ motions to

 3   dismiss or Defendants’ motion for summary judgment, including all claims brought by Demeka

 4   Green as Executor of the estate of Brenda Taylor. The parties further agree that each side shall bear

 5   its own costs and attorneys’ fees in this matter.

 6           In accordance with the terms of the settlement, Plaintiff Joyce Taylor shall receive payment

 7   of $500,000.00; Plaintiff Che Andre Taylor, Jr. shall receive payment of $500,000,00; and Plaintiff

 8   Devitta Briscoe as Executor of the Estate of Che Andre Taylor shall receive payment of $500,000.00,

 9   with $250,000.00 of that payment being distributed to Che Andre Taylor, Jr. and the other

10   $250,000.00 of that payment being distributed to Sarah Settles as guardian of minor Plaintiff C.M.T.

11   and to be held in trust for minor Plaintiff C.M.T. Given the relationships of the Plaintiffs to Che

12   Andre Taylor, all Plaintiffs agree that the settlement on behalf of C.M.T. is reasonable and in her best

13   interests. Settlement proceeds to C.M.T. from the estate are subject to the approval of an appointed

14   Guardian Ad Litem and the Court.

15                                            AGREED ORDER

16           This matter, having come on duly and regularly before the undersigned Judge of the above-

17   entitled Court, and the parties having stipulated here, and the Court being fully advised in the

18   premises, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

19           1. A Guardian Ad Litem shall be appointed to determine whether the allocation of

20               $250,000 to C.M.T from the estate of Che Andre Taylor is reasonable. The Guardian

21               Ad Litem shall then furnish the Court with a report, so the Court can make a finding

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 1              under LCR 17 with respect to the reasonableness of the settlement for minor C.M.T.

 2          2. Plaintiffs shall not appeal any claims dismissed by this Court in its orders on

 3              Defendants motions to dismiss or Defendants’ motion for summary judgment;

 4          3. All claims in this matter are hereby dismissed with prejudice, with each side bearing

 5              its own costs and attorneys’ fees.

 6          DONE this _______ day of __________________, 2020.

 7

 8                                 THE HONORABLE THOMAS S. ZILLY

 9   Presented by:

10   CHRISTIE LAW GROUP, PLLC

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     PETER S. HOLMES
16   Seattle City Attorney

17   By       /s/ Ghazal Sharifi
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21   Attorneys for Defendants


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 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that on the 7th day of December, 2020, I electronically filed the foregoing
     with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 3   to the following:

 4                                    Jesse Valdez, WSBA #35378
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